                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA      *
                               *
      v.                       *    CRIMINAL NO. TDC-20-33
                               *
 WILLIAM GARFIELD BILBROUGH    *
 IV,                           *
                               *
          Defendant            *
                               *
                            *******
                                   JOINT STATUS REPORT

       In accord with the scheduling order, ECF No. 117, the parties file this Joint Status Report.

Resolution has been slowed somewhat by the timing of facility mail and the ability of counsel to

confer with the defendant. The parties expect disposition in this case within the next month. If no

such disposition is achieved, the parties propose setting a deadline for an additional status report

one month from today, on November 9, 2020.



                                                     Respectfully submitted,

                                                     Robert K. Hur
                                                     United States Attorney

                                                     /s/
                                                     Thomas P. Windom
                                                     Assistant United States Attorney
